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          5
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          6 Samuel James Esworthy
          7
          8                      UNITED STATES BANKRUPTCY COURT

          9                       CENTRAL DISTRICT OF CALIFORNIA

         10                         SAN FERNANDO VALLEY DIVISION

         11 In re
                                                )     Case No. 1:16-bk-11985-MT
         12                                     )
                                                )
         13                                     )     Chapter 11
                     SAMUEL JAMES ESWORTHY,     )
         14                                     )
                                                )
         15                             Debtor. )     DEBTOR’S THIRD AMENDED
                                                )     CHAPTER 11 PLAN OF
                                                )     REORGANIZATION
         16
                                                )
         17                                     )
                                                )     Hearing on Confirmation of the Plan:
         18                                     )
                                                )     Date: December 12, 2018
                                                )     Time: 9:30 a.m.
         19                                           Place: Courtroom 302
                                                )
                                                )            21041 Burbank Boulevard
         20                                                  Woodland Hills, CA 91367
                                                )
         21                                     )
                                                )
         22                                     )
                                                )
         23                                     )
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          1
                I.    INTRODUCTION
          2
                      Samuel James Esworthy ("the Debtor”), Debtor-in-Possession in the above-
          3
               referenced Chapter 11 case, commenced his bankruptcy case by filing a voluntary petition
          4
               under Chapter 11 of 11 U.S.C. §101 et seq. (the "Bankruptcy Code") on July 8, 2016. He
          5
               is hereinafter referred to as the “Debtor.”
          6
                      Chapter 11 allows the Debtor, and under some circumstances, creditors and others
          7
               parties in interest, to propose a plan of reorganization. The Chapter 11 plan of
          8
               reorganization may provide for the Debtor to reorganize by continuing to operate, to
          9
               liquidate by selling assets of the estate, or a combination of both. The Debtor is the
         10
               proponent (the "Proponent") of this Chapter 11 Plan of Reorganization (the “Plan”).
         11
                      In summary, this Plan provides for payment to holders of allowed claims. The
         12
               timing of Plan payments to particular creditor groups will depend upon their classification
         13
               under the Plan. The Effective Date of the Plan shall be the first Business Day that is
         14
               fourteen (14) calendar days after entry of the confirmation order, with payments beginning
         15
               on the first day of the following month.
         16
                     A DISCLOSURE STATEMENT DESCRIBING CHAPTER 11 PLAN OF
         17
               REORGANIZATION (hereinafter the “Disclosure Statement”) also accompanies this Plan.
         18
               The Disclosure Statement describes the Plan and provides additional information to enable
         19
               creditors to make informed decisions about whether to vote for or against the Plan.
         20
                      The following are the specific provisions of the Plan.
         21
         22
               II.    INTERPRETATIONS AND RULES OF CONSTRUCTION
         23
                      INTERPRETATION, COMPUTATION OF TIME AND GOVERNING LAW
         24
                  RULES OF INTERPRETATION
         25
                      For purposes of the Plan: (a) whenever from the context it is appropriate, each term,
         26
               whether stated in the singular or the plural, shall include both the singular and the plural;
         27
               (b) any reference in the Plan to a contract, instrument, release or other agreement or
         28

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               document being in a particular form or on particular terms and conditions means that such
          1
               document shall be substantially in such form or substantially on such terms and conditions;
          2
               (c) any references in the Plan to an existing document or Exhibit Filed or to be Filed means
          3
               such document or Exhibit, as it may have been or may be amended, modified or
          4
               supplemented; (d) unless otherwise specified in a particular reference, all references in the
          5
               Plan to Sections, Articles and Exhibits are references to Sections, Articles and Exhibits of
          6
               or to the Plan; (e) the words "herein," "hereof," "hereto," "hereunder" and others of similar
          7
               import refer to the Plan in its entirety rather than to only a particular portion of the Plan; (f)
          8
               captions and headings to Articles and Sections are inserted for convenience of reference
          9
               only and are not intended to be a part of or to affect the interpretation of the Plan; and (g)
         10
               the rules of construction set forth in §102 of the Bankruptcy Code shall apply.
         11
                   TIME PERIODS.
         12
                      In computing any period of time prescribed or allowed by the Plan, the provisions
         13
               of Bankruptcy Rule 9006(a) shall apply.
         14
                   SECTION NUMBERS.
         15
                      References in this Plan and the Disclosure Statement to a code section are
         16
               references to the United States Bankruptcy Code (Title 11 of the United States Code)
         17
               except as otherwise indicated.
         18
         19
         20 III.      CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

         21               A. GENERAL OVERVIEW

         22           As required by the Bankruptcy Code, the Plan separates claims and interests into

         23 various categories and classes according to the nature and legal rights associated with such
         24 claims and interests. The Plan designates which classes are impaired and which classes are
         25 unimpaired. The Plan also describes the treatment each class will receive under the Plan.
         26 The Proponents will ask the Bankruptcy Court to confirm this Plan pursuant to 11 U.S.C.
         27 §1129(b) on any impaired classes if any of these classes do not vote to accept the Plan and
         28

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               if the Plan can otherwise be confirmed, notwithstanding the lack of acceptance by the
          1
               Shareholders.
          2
          3
                         B. UNCLASSIFIED CLAIMS
          4
                      Certain types of claims are not placed into voting classes; instead, they are
          5
               unclassified. Holders of unclassified claims not considered impaired and not entitled to
          6
               vote on the Plan; rather the holders of unclassified, unimpaired claims and interests are
          7
               automatically entitled to specific treatment provided for them in the Bankruptcy Code.
          8
                      The following categories of claims are neither classified nor impaired under the
          9
               Plan and are not entitled to vote on the Plan.
         10
         11
                         C. ADMINISTRATIVE EXPENSES
         12
                      Administrative expenses are claims for costs or expenses of administering the
         13
               Debtor’s Chapter 11 case that are allowed under Bankruptcy Code §507(a)(1). The
         14
               Bankruptcy Code requires that all administrative claims be paid on the Effective Date of
         15
               the Plan, unless a particular claimant agrees to a different treatment. The following is an
         16
               estimate of the §507(a)(1) administrative claims that will be incurred and unpaid through
         17
               the Effective Date of the Plan and their treatment under this Plan.
         18
                            Name                   Amount Owed                     Treatment
         19
               M. Jonathan Hayes, Resnik          $25,000-30,000       RHM has agreed to accept
         20    Hayes Moradi LLP (“RHM”)           - estimated to be    $10,000 up front and monthly
               (Attorney for the Debtor)          owed on the          payments until the fees are paid
         21                                       Effective Date.      in full, once the fees are approved
                                                  ($21,000 approx      by the Court, unless the Debtor is
         22                                       is owed as of        able to pay the fees from other
                                                  Sept 24, 2018)       sources.
         23                                       This amount is
                                                  net of the initial   In the event there is a default by
         24                                       retainer paid of     Debtor in his payment of fees to
                                                  $20,000 and one      RHM. The firm will give him
         25                                       postpetition         notice of the default by electronic
                                                  payment of           mail and advise him that he
         26                                       $20,000.             has ten (10) days to cure the
                                                                       default.
         27
                                                                       If Debtor does not cure within
         28                                                            that time period, SRH will be
                                                                       permitted to accelerate the

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                                                                     balance due at the time and
          1                                                          enforce the order of this Court
                                                                     approving the fees by whatever
          2                                                          means are available to it
                                                                     including the costs and expenses
          3                                                          related to the recording of the
                                                                     order and costs of collection.
          4                                                          RHM shall not be required to get
                                                                     any further approval of this
          5                                                          Court for payments related to
                                                                     outstanding fees.
          6
                                                                     SRH and Debtor are permitted to
          7                                                          communicate and agree to
                                                                     payment of SRH’s administrative
          8                                                          claim on an expedited basis, if the
                                                                     ability to pay arises.
          9
               Clerk’s Office Fees               $0 (estimated       Paid when due
         10    Office of the U.S. Trustee Fees   $325 - $650 per     Quarterly fees, as required by 28 U.S.C.
                                                 quarter             §1930(a)(6), shall be paid until a final
         11                                      (estimated)         decree is entered or the case is
                                                                     dismissed or converted.
         12    TOTAL                             $45,000 - $50,000

         13
         14                               Court Approval of Fees Required

         15          Requests by professionals for payment of fees and costs are generally subject to

         16 review and approval by the Court.
         17          Fees of the Court Clerk and the Office of the United States Trustee are not subject

         18 to Court approval and may be paid in the ordinary course of business when due.
         19
         20             D. PRIORITY TAX CLAIMS

         21          Priority tax claims are certain unsecured income, employment and other taxes

         22 described by §507(a)(8). The Code requires that each holder of such a §507(a)(8) priority
         23 tax claim receive the present value of such claim in deferred cash payments, over a period
         24 not exceeding five years from the petition date. The Debtor does not believe that he has
         25 any priority creditors. Should there be any priority taxes owed by the Debtor, he will pay
         26 those in full in monthly installments with interest at the governmental rate over a five year
         27 period beginning from the petition date.
         28

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          1
                     E. CLASSIFIED CLAIMS AND INTERESTS - SUMMARY
          2
                                  i. Summary of Treatment and Payment Amounts
          3
          4
                    Class 1 – Wells Fargo Bank                   Paid in full, $356,724,
          5
                    Renault Property                             $2,140 per month, 6%
          6
                                                                 interest fixed
          7
                    Class 2 – Wells Fargo Bank                   Paid $340,000, $1,930 per
          8
                    Weidner Property                             month, 5.5% interest fixed
          9
                    Class 3 – SPS, Delano Property               Paid $285,000, $2,473.00
         10
                                                                 per month, 5.25% interest
         11
                                                                 fixed
         12
                    Class 4 – Nationstar, Millbury Property      Paid in full, $1,523 per
         13
                                                                 month, 5% interest fixed
         14
                    Class 5 – Nationstar, Ben Ave. Property Paid in full, $1,621 per
         15
                                                                 month, 5.25% interest fixed
         16
                    Class 6 – Wells Fargo Bank, Maclaren         Paid $225,000, $1,349 per
         17
                    Property                                     month, 6.0% interest fixed
         18
                    Class 7 – Fay Servicing, Inyo Property       Paid $315,000, $1,789 per
         19
                                                                 month, 5.5% interest fixed
         20
                    Class 8 – Los Angeles County Property        Paid in full over 5 years
         21
                    Taxes                                        from petition date
         22
                    Class 9 – Unsecured creditors                Paid $48,000 over four years
         23
                                                                 or approx. 14% of unsecured
         24
                                                                 claims
         25
         26
                     A list of all creditors of this estate is attached as Exhibit “D“ to the Third Amended
         27
               Disclosure Statement.
         28

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          1
                                       A. CLASSIFIED CLAIMS AND INTERESTS
          2
                      Class 1
          3
                      Secured claim of: Wells Fargo Bank
          4
                      Property address or description of collateral: 18343 Renault Street, La Puente, CA
          5
               91733. This is residential rental property. The property is occupied by Gloria Nava, who
          6
               pays $1,725 per month, on a month-to-month basis. The Debtor values this property at
          7
               $360,000.
          8
                      Priority of lien: First deed of trust.
          9
                      Total amount of claim: $356,724 per proof of claim No. 3-1.
         10
                      IMPAIRED and entitled to vote
         11
                      Interest rate: 6% fixed
         12
                      Monthly payment: $2,140.40
         13
                      First payment date: Payments will begin on January 1, 2019.
         14
                      Treatment: The Debtor will pay the claim in full. WFB will retain its lien until the
         15
               secured claim is paid in full. The order closing this case may include this language and
         16
               may be recorded at the County Recorder’s Office by the Debtor. No new loan documents
         17
               will be required, unless required by the lender. The terms of the Stipulation shall be
         18
               incorporated into the Plan of Reorganization as if set forth in full.
         19
                      The Debtor shall receive credit against the total allowed claim for all pre- or post-
         20
               petition payments not accounted for in the schedules or by the proof of claim, if any, which
         21
               total shall be decreased accordingly – the holder of this claim shall provide the Debtor or
         22
               his counsel with a statement regarding the current balance due as reasonably requested.
         23
                      Debtor may satisfy the allowed secured claim by selling or refinancing the
         24
               collateral, which shall obligate the holder of the claim in this class to reconvey or release
         25
               its deed of trust or other lien in conjunction with such transaction without further order of
         26
               this Court.
         27
         28

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                         Class 2
          1
                         Secured claim of: Wells Fargo Bank
          2
                         Property address or description of collateral: 13038 Weidner Street, Pacoima, CA
          3
               91331. This is the Debtor’s residential rental property. The property is occupied and the
          4
               Debtor is collecting $2,250.00 per month from the tenants. The Debtor and Wells Fargo
          5
               Bank have agreed that the value of the property is $340,000.
          6
                         Priority of lien: First deed of trust.
          7
                         Total amount of claim: $404,685 (per proof of claim No. 6)
          8
                         IMPAIRED
          9
                         Interest rate: 5.5% fixed
         10
                         Monthly payment: $1,930.48 (principle and interest)
         11
                         First payment date: Payments pursuant to the Plan of Reorganization will begin on
         12
               the first day of the month following the Effective Date, believed to be January 1, 2019.
         13
                         Treatment: The Debtor will pay Wells Fargo Bank $340,000, amortized at 5.5%
         14
               over 30 years. WFB will retain its lien until the secured claim is paid in full. The order
         15
               closing this case may include this language and may be recorded at the County Recorder’s
         16
               Office by the Debtor. No new loan documents will be required, unless required by the
         17
               lender.
         18
                         The Debtor shall receive credit against the total allowed claim for all pre- or post-
         19
               petition payments not accounted for in the schedules or by the proof of claim, if any, which
         20
               total shall be decreased accordingly – the holder of this claim shall provide the Debtor or
         21
               his counsel with a statement regarding the current balance due as reasonably requested.
         22
                         Debtor may satisfy the allowed secured claim by selling or refinancing the
         23
               collateral, which shall obligate the holder of the claim in this class to reconvey or release
         24
               its deed of trust or other lien in conjunction with such transaction without further order of
         25
               this Court.
         26
                         The balance of the amount owed by the Debtor to Wells Fargo on its Class 2 claim
         27
               will be treated as unsecured and paid with the unsecured class.
         28

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          1
                      Class 3
          2
                      Secured claim of: Select Portfolio Services (Bank of America and/or Bank of NY
          3
               Mellon)
          4
                      Property address or description of collateral: 14817 Delano Street, Van Nuys, CA
          5
               91402. This is the Debtor’s residential rental property. The property is occupied and the
          6
               tenants are paying $2,200 per month, on a month-to-month basis. The Debtor values this
          7
               property at $285,000.
          8
                      Priority of lien: First deed of trust.
          9
                      Total amount of claim: $313,146 (per proof of claim No. 10)
         10
                      IMPAIRED
         11
                      Interest rate: 5.25% fixed
         12
                      Monthly payment: $2,473.44
         13
                      First payment date: Payments pursuant to the Plan of Reorganization will begin on
         14
               the first day of the month following the Effective Date, believed to be January 1, 2019.
         15
                      Treatment: The Debtor has reached a Plan Treatment Stipulation with Class 3 Bank
         16
               of New York Mellon on the Delano property. The Stipulation provides that the Debtor
         17
               will make monthly payments of $2,473.44 broken down as $1,486.69, P&I, $123.17
         18
               insurance, and $863.58 arrearage. A copy of the Stipulation is attached hereto as Exhibit
         19
               “F.”
         20
                      The Debtor will pay SPS $285,000, amortized at 5.25% over 30 years. SPS will
         21
               retain its lien until the secured claim is paid in full. The order closing this case may
         22
               include this language and may be recorded at the County Recorder’s Office by the Debtor.
         23
               No new loan documents will be required, unless required by the lender.
         24
                      The Debtor shall receive credit against the total allowed claim for all pre- or post-
         25
               petition payments not accounted for in the schedules or by the proof of claim, if any, which
         26
               total shall be decreased accordingly – the holder of this claim shall provide the Debtor or
         27
               his counsel with a statement regarding the current balance due as reasonably requested.
         28

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                      Debtor may satisfy the allowed secured claim by selling or refinancing the
          1
               collateral, which shall obligate the holder of the claim in this class to reconvey or release
          2
               its deed of trust or other lien in conjunction with such transaction without further order of
          3
               this Court.
          4
                      The balance of the amount owed by the Debtor to SPS on its Class 3 claim will be
          5
               treated as unsecured and paid with the unsecured class.
          6
          7
                      Class 4
          8
                      Secured claim of: Nationstar/US Bank
          9
                      Property address or description of collateral: 3768 Millbury Ave., Baldwin Park,
         10
               CA 91706. This is the Debtor’s residential rental property. The property is occupied by
         11
               Juan Sanchez and Sylvia Rodriguez, who pay $1,650 per month, on a month-to-month
         12
               basis. The Debtor values this property at $308,000 based on an appraisal dated December
         13
               3, 2016.
         14
                      Priority of lien: First deed of trust.
         15
                      Total amount of claim: $283,669 (per proof of claim No. 7)
         16
                      IMPAIRED
         17
                      Interest rate: 5% fixed
         18
                      Monthly payment: $1,523.00
         19
                      First payment date: Payments pursuant to the Plan of Reorganization will begin on
         20
               the first day of the month following the Effective Date, believed to be January 1, 2019.
         21
                      Treatment: The Debtor will pay Nationstar in full amortized at 5% over 30 years.
         22
               Nationstar will retain its lien until the secured claim is paid in full. The order closing this
         23
               case may include this language and may be recorded at the County Recorder’s Office by
         24
               the Debtor. No new loan documents will be required, unless required by the lender.
         25
                      The Debtor shall receive credit against the total allowed claim for all pre- or post-
         26
               petition payments not accounted for in the schedules or by the proof of claim, if any, which
         27
               total shall be decreased accordingly – the holder of this claim shall provide the Debtor or
         28

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               his counsel with a statement regarding the current balance due as reasonably requested.
          1
                      Debtor may satisfy the allowed secured claim by selling or refinancing the
          2
               collateral, which shall obligate the holder of the claim in this class to reconvey or release
          3
               its deed of trust or other lien in conjunction with such transaction without further order of
          4
               this Court.
          5
                      The Debtor shall make adequate protection payments to Nationstar of $1,523.00
          6
               beginning in September, 2018 and continuing until the Plan is confirmed or further order
          7
               of the court.
          8
          9
                      Class 5
         10
                      Secured claim of: Nationstar/US Bank
         11
                      Property address or description of collateral: 7738 Ben Ave, North Hollywood, CA
         12
               91605. This is the Debtor’s residential rental property. The property is occupied by Mason
         13
               and Rachel Harrison, who pay $1,675 per month. The Debtor values this property at
         14
               $315,000 based on an appraisal dated December 3, 2016.
         15
                      Priority of lien: First deed of trust.
         16
                      Total amount of claim: $302,036 (per proof of claim No. 5)
         17
                      IMPAIRED
         18
                      Interest rate: 5.25% fixed
         19
                      Monthly payment: $1,621.00
         20
                      First payment date: Payments pursuant to the Plan of Reorganization will begin on
         21
               the first day of the month following the Effective Date, believed to be January 1, 2019.
         22
                      Treatment: The Debtor will pay Nationstar in full, amortized at 5.25% over 30
         23
               years. Nationstar will retain its lien until the secured claim is paid in full. The order
         24
               closing this case may include this language and may be recorded at the County Recorder’s
         25
               Office by the Debtor. No new loan documents will be required, unless required by the
         26
               lender. If there should be a default, Nationstar shall give the Debtor notice of the default
         27
               in writing with an email copy to counsel and allow ten (10) days for the Debtor to cure the
         28

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               default.   If the default is not cured, Nationstar shall have relief from the automatic stay
          1
               without any further court proceeding required and may proceed with its rights under the
          2
               agreements and state law.
          3
                      The Debtor shall receive credit against the total allowed claim for all pre- or post-
          4
               petition payments not accounted for in the schedules or by the proof of claim, if any, which
          5
               total shall be decreased accordingly – the holder of this claim shall provide the Debtor or
          6
               his counsel with a statement regarding the current balance due as reasonably requested.
          7
                      Debtor may satisfy the allowed secured claim by selling or refinancing the
          8
               collateral, which shall obligate the holder of the claim in this class to reconvey or release
          9
               its deed of trust or other lien in conjunction with such transaction without further order of
         10
               this Court.
         11
         12
                      Class 6
         13
                      Secured claim of: Wells Fargo Bank
         14
                      Property address or description of collateral: 16920 Maclaren Street, La Puente, CA
         15
               91744. This is residential rental property. The property is currently vacant but the Debtor
         16
               believes that he can have it rented for $2,000. The Debtor believes the cost to remediate
         17
               the property will be about $20,000. The Debtor and Wells Fargo Bank have agreed on
         18
               value of this property of $225,000.
         19
                      Priority of lien: First deed of trust.
         20
                      Total amount of claim: $336,592 (per proof of claim No. 11)
         21
                      IMPAIRED
         22
                      Interest rate: 5.5% fixed
         23
                      Monthly payment: $1,349.99
         24
                      First payment date: Payments pursuant to the Plan of Reorganization will begin on
         25
               March 1, 2018 pursuant to the Stipulation.
         26
                      Treatment: The Debtor will pay WFB $225,000, amortized at 6.0% over 30 years.
         27
               The Debtor will pay all property insurance and taxes. WFB will retain its lien until the
         28

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               secured claim is paid in full. The order closing this case may include this language and
          1
               may be recorded at the County Recorder’s Office by the Debtor. No new loan documents
          2
               will be required, unless required by the lender.
          3
                      The Debtor shall receive credit against the total allowed claim for all pre- or post-
          4
               petition payments not accounted for in the schedules or by the proof of claim, if any, which
          5
               total shall be decreased accordingly – the holder of this claim shall provide the Debtor or
          6
               his counsel with a statement regarding the current balance due as reasonably requested.
          7
                      Debtor may satisfy the allowed secured claim by selling or refinancing the
          8
               collateral, which shall obligate the holder of the claim in this class to reconvey or release
          9
               its deed of trust or other lien in conjunction with such transaction without further order of
         10
               this Court.
         11
                      The balance of the amount owed by the Debtor to WFB its Class 6 claim will be
         12
               treated as unsecured and paid with the unsecured class.
         13
         14
                      Class 7
         15
                      Secured claim of: PROF-2013-S3 Legal Title Trust IV, by U.S. Bank National
         16
               Association as Legal Title Trustee (“Fay Servicing”).
         17
                      Property address or description of collateral: 16442 Inyo Street, La Puente, CA
         18
               91744. This is residential rental property. The property is currently vacant but the Debtor
         19
               believes that he can have it rented for $2,350 within a few months. The Debtor believes
         20
               the cost to remediate the property will be about $20,000. The Debtor and Fay Servicing
         21
               have entered into a Stipulation re Plan Treatment which is attached hereto as Exhibit “E.”
         22
               They agreed on a value of this property of $315,000.
         23
                      Priority of lien: First deed of trust.
         24
                      Total amount of claim: $349,805 (per proof of claim No. 8)
         25
                      IMPAIRED
         26
                      Interest rate: 5.5% fixed
         27
                      Monthly payment: $1,789
         28

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                      First payment date: Payments pursuant to the Plan of Reorganization will begin on
          1
               the first day of the month following the Effective Date, believed to be July 1, 2018.
          2
                      Treatment: The Debtor will pay Fay Servicing $315,000, amortized at 5.5% over 30
          3
               years. The Debtor will pay all property insurance and taxes. The lender will retain its lien
          4
               until the secured claim is paid in full. The order closing this case may include this
          5
               language and may be recorded at the County Recorder’s Office by the Debtor. No new
          6
               loan documents will be required, unless required by the lender. The terms of the
          7
               Stipulation shall be incorporated into the Plan of Reorganization as if set forth in full.
          8
                      The Debtor shall receive credit against the total allowed claim for all pre- or post-
          9
               petition payments not accounted for in the schedules or by the proof of claim, if any, which
         10
               total shall be decreased accordingly – the holder of this claim shall provide the Debtor or
         11
               his counsel with a statement regarding the current balance due as reasonably requested.
         12
                      Debtor may satisfy the allowed secured claim by selling or refinancing the
         13
               collateral, which shall obligate the holder of the claim in this class to reconvey or release
         14
               its deed of trust or other lien in conjunction with such transaction without further order of
         15
               this Court.
         16
                      The balance of the amount owed by the Debtor to the lender on its Class 7 claim
         17
               will be treated as unsecured and paid with the unsecured class.
         18
         19
                      Class 8
         20
                      Secured claims of: Los Angeles County Tax Collector
         21
                      Property address or description of collateral: Properties located in Los Angeles
         22
               County
         23
                      Priority of lien: property taxes
         24
                      Total amount of claim: $31,790 (per Proof of Claim No. 2)
         25
                      UNIMPAIRED
         26
                      Interest rate: per statute
         27
                      Monthly payment: N/A
         28

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                      First payment date: N/A
          1
                      Treatment: The property taxes on the Debtor’s properties in Los Angeles County
          2
               are current. He will continue to pay the claims as they come due in the ordinary course.
          3
               Most if not all of the property taxes are paid from escrow accounts held by the various
          4
               mortgage companies and or servicers. If any property taxes are otherwise owed by the
          5
               Debtor, he will pay those in full in monthly installments plus interest at the governmental
          6
               rate over a 60 month period beginning with the petition date.
          7
          8
                      Class 9
          9
                      Unsecured Creditors
         10
                              The Debtor’ unsecured creditors total approximately $295,000. This
         11
               includes the unsecured portions of the secured claims as follows: A complete list of the
         12
               creditors of the estate is attached hereto as Exhibit “D.”
         13
         14
                   Class 2, Weidner         Wells Fargo Bank           64,685
         15
                   Class 3, Delano          SPS                        28,146
         16
                   Class 6, Maclaren        Wells Fargo Bank           111,592
         17
                   Class 7, Inyo            Wells Fargo Bank           35,000
         18
                      Total                                            239,423
         19
         20
                      Upon entry of the discharge, the claims of each of the creditors addressed in Classes
         21
               2, 3, 6 and 7 shall be reduced to the respective amount detailed in that particular Class’
         22
               treatment above. The Order Granting Discharge shall include this language and may be
         23
               recorded at the County Recorder’s Office by the Debtor.
         24
                      The unsecured class will be paid $48,000 over 48 months beginning on the first day
         25
               of the 13th month after the Effective Date.
         26
                      If the Debtor can sell or refinance his home (the Kester property) at any time during
         27
               the life of the Plan, he will pay the unsecured class any unpaid amount up to $48,000, and
         28

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               seek an early discharge of his debt from the Bankruptcy Court.
          1
          2
                      Class 10: Debtor’s Interest
          3
                      The Debtor will retain his interest in his property.
          4
          5
                                         F. MEANS OF PERFORMING THE PLAN
          6
                                                    i.        Funding for the Plan
          7
                      The Debtor will fund the Plan from his rental and his employment income. See the
          8
               projections and analysis attached to the Disclosure Statement as Exhibit “B.”
          9
         10
                                         ii. Management of the Reorganized Debtor
         11
                      1)      Identity: The Debtor.
         12
                      2)      Post-confirmation Managerial duties: The Debtor will continue to manage
         13
               his affairs.
         14
                      3)      Amount of compensation paid pre-petition and to be paid post-confirmation:
         15
               The Debtor reserves the right to modify his living expenses and to invest sufficient funds
         16
               into his rental properties to ensure the rental properties at least break-even and to invest in
         17
               necessary goods and operating expenses for his business to break-even and thrive while
         18
               making his Chapter 11 plan payments.
         19
                      4)      Description of expertise: The Debtor ably managed his businesses prior to
         20
               the national economic depression, credit availability and real estate crises that have
         21
               impacted his earnings.
         22
                                                         iii. Disbursing Agent
         23
                      Debtor shall act as the disbursing agent for the purpose of making the distributions
         24
               to all classes provided for under the Plan. He shall not be compensated.
         25
         26
                                                           iv. Distributions
         27
                      Cash payments made pursuant to the Plan shall be in U.S. dollars by checks drawn
         28

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               on domestic bank selected by the Disbursing Agent.
          1
                      Any distributions under the Plan that are unclaimed or undeliverable for a period of
          2
               six (6) months after distribution thereof shall be revested in the Reorganized Debtor, free
          3
               of any restrictions thereon, and any entitlement of any holder of any claim to such
          4
               distribution shall be extinguished and forever barred.
          5
          6
                         E. TREATMENT OF MISCELLANEOUS ITEMS
          7
                      A) EXECUTORY CONTRACTS AND UNEXPIRED LEASES
          8
                      1) Assumptions
          9
                      The Debtor will assume all of the leases he has with his tenants. Debtor reserves
         10
               the right to modify the Plan to designate additional contracts or leases to be assumed or to
         11
               be rejected at any time prior to the hearing on Confirmation of the Plan. On the Effective
         12
               Date, each of the unexpired leases and executory contracts so designated shall be assumed
         13
               as obligations of the Debtor. The Confirmation Order shall constitute an Order approving
         14
               the assumption of each lease and contract. If you are a party to a lease or contract to be
         15
               assumed and you object to the assumption of your lease or contract, or contend that there
         16
               are arrearages, you must file and serve your objection to the Plan, and set forth the
         17
               arrearages within the deadline for objecting to the confirmation of the Plan.
         18
                      2) Rejections
         19
                      Any unexpired lease or executory contract not expressly rejected shall be deemed
         20
               assumed as of the Effective Date. The Debtor reserves the right to modify the Plan to
         21
               designate certain contracts or leases for rejection at any time prior to the hearing on
         22
               confirmation of the Plan.
         23
                      The order confirming the Plan shall constitute an order approving the rejection of
         24
               such leases and contracts. If you are a party to a contract or lease to be rejected and you
         25
               object to the rejection of your contract or lease, you must file and serve your objection to
         26
               the Plan within the deadline for objecting to the confirmation of the Plan. See Disclosure
         27
               Statement for the specific date.
         28

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                      THE BAR DATE FOR FILING A PROOF OF CLAIM BASED ON A CLAIM
          1
               ARISING FROM THE REJECTION OF A LEASE OR CONTRACT IS THIRTY DAYS
          2
               AFTER THE EFFECTIVE DATE. Any claim based on the rejection of an executory
          3
               contract or unexpired lease will be barred if the proof of claim is not timely filed, unless
          4
               the Court later orders otherwise.
          5
                      B) REGULATORY COMMISSION APPROVAL
          6
                      Not applicable, Debtor is an individual.
          7
                      C) RETENTION OF JURISDICTION.
          8
                      The Court will retain jurisdiction over this bankruptcy case until a final decree is
          9
               entered by the Court. It is estimated that the final decree will be entered approximately six
         10
               (6) months after the Plan is confirmed by the Court. At that time the bankruptcy case will
         11
               be closed.
         12
         13
                            F. EFFECT OF CONFIRMATION OF PLAN
         14
                  1. DISCHARGE
         15
                      Confirmation of the Plan does not discharge any debt provided for in the Plan until
         16
               the court grants a discharge on completion of all payments under the Plan, or as otherwise
         17
               provided in § 1141(d)(5) of the Code. However, any liability imposed by the Plan will not
         18
               be discharged.
         19
         20
                  2. REVESTING OF PROPERTY IN DEBTOR
         21
                      Except as provided elsewhere in the Plan, the confirmation of the Plan revests all of
         22
               the property of the estate in the Debtor.
         23
                      From and after the Effective Date, the Debtor may operate and may use, acquire,
         24
               and dispose of property, and compromise and settle any claims or causes of actions
         25
               without supervision or consent of the Bankruptcy Court and are free of any restrictions of
         26
               the Bankruptcy Code or Bankruptcy Rules.
         27
                      Debtor shall have, retain, reserve and be entitled to assert all claims, causes of
         28

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               action, rights of setoff and other legal or equitable defenses that the Debtor had
          1
               immediately prior to the Petition Date as fully as if the Debtor’s bankruptcy case had not
          2
               been commenced; and all of the Debtor’s legal and equitable rights respecting any such
          3
               claim which is not specifically waived, extinguished, relinquished or transferred by the
          4
               Plan may be asserted after the Effective Date.
          5
          6
                  3. MODIFICATION OF PLAN
          7
                      Debtor may modify the Plan pursuant to 11 U.S.C. §1127.
          8
          9
                  4. DEFAULT
         10
                      As those claimants whose claims are not agreed upon by the parties (i.e.,
         11
               memorialized in a plan treatment stipulation), if Debtor fails to make any payment required
         12
               under the Plan, or to perform any other obligation required under the Plan for more than
         13
               twenty-one (21) days after the time specified in the Plan, the affected creditor may serve
         14
               upon Debtor and Debtor’s attorney (if any) a written notice of default. Debtor is in
         15
               material default under the Plan if he fails within twenty-one (21) days of the service of
         16
               such notice of default, plus three (3) additional days if served by mail, either; (i) to cure the
         17
               default or (ii) to obtain from the Court an extension of time to cure the default or a
         18
               determination that no default occurred.
         19
         20
                  5. POST-CONFIRMATION STATUS REPORT
         21
                      Pursuant to Local Bankruptcy Rule 3020, within one hundred and twenty (120) days
         22
               following the entry of the Plan Confirmation Order, a reorganized debtor is to file a status
         23
               report with the Court explaining what progress has been made toward consummation of a
         24
               confirmed plan.
         25
                      Debtor shall do so unless the Court sets a post confirmation status conference, at
         26
               which point he will instead file a post confirmation status report (which contains all the
         27
               information required by LBR 3020) by the deadline set by the Court, or at least fourteen
         28

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               [14] days prior to the hearing if no deadline is specified.
          1
          2
                  6. QUARTERLY FEES
          3
                      Reorganized Debtor shall be responsible for the timely payment of all fees incurred
          4
               after the Effective Date pursuant to 28 U.S.C. § 1930(a)(6).
          5
          6
                  7. POST-CONFIRMATION EMPLOYMENT
          7
                      After the entry of the order of confirmation of the Plan, Reorganized Debtor may
          8
               employ, without notice, hearing, or order of the Bankruptcy Court, such attorneys,
          9
               accountants, and other professionals (the "Post-confirmation Professionals") as he may
         10
               desire to render services on such terms as he deems reasonable. With respect to services
         11
               rendered by the Post-confirmation Professionals, Reorganized Debtor shall be authorized
         12
               to pay for such services, related costs, and expenses without notice, hearing, or order of the
         13
               Bankruptcy Court.
         14
         15
                  8. POST-CONFIRMATION CONVERSION/DISMISSAL
         16
                      A creditor or party in interest may bring a motion to convert or dismiss the case
         17
               under §1112(b), after the Plan is confirmed, if there is a default in performing the Plan. If
         18
               the Court orders, the case converted to Chapter 7 after the Plan is confirmed, then all
         19
               property that had been property of the Chapter 11 estate, and that has not been disbursed
         20
               pursuant to the Plan, will revest in the Chapter 7, estate. The automatic stay will be
         21
               reimposed upon the revested property, but only to the extent that relief from stay was not
         22
               previously authorized by the Court during this case.
         23
                      The order confirming the Plan may also be revoked under very limited
         24
               circumstances. The Court may revoke the order if the order of confirmation was procured
         25
               by fraud and if the party in interest brings an adversary proceeding to revoke confirmation
         26
               within one hundred and eighty (180) days after the entry of the order of confirmation.
         27
         28

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                  9. FINAL DECREE
          1
                       Once the estate has been fully administered as referred to in Bankruptcy Rule 3022,
          2
               Reorganized Debtor shall file a motion with the Court to obtain a final decree to close this
          3
               case.
          4
          5 Dated: October 5, 2018                   By:                     SEE NEXT PAGE

          6                                                                 Samuel James Esworthy
                                                                      Debtor and Plan Proponent
          7
          8 Dated: October 5, 2018                   By:                   /s/ M. Jonathan Hayes
                                                                          M. Jonathan Hayes
          9                                                           Attorneys for Plan Proponent
         10
         11
         12
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                                                           Samuel James Esworthy- Schedule of Debts



                                                             Filed
                          Scheduled               Filed                 Allowed    Allowed     Allowed
        Creditor                      C/U/D                  Claim                                                              Comments
                           Amount                 Claim                  Amt        Amt         Amt
                                                             Amnt.

                                              CLAIM
                            AMT*                             AMT*       Secured   Unsecured    Priority
                                                #

        Secured

Bank of America      $341,035                 10          $313,146    $313,146                            14817 Delano Street, Van Nuys, CA 91402
Bank of New York                                                                                          No Proof of Claim. 13739 & 13741 Louvre Street,
                     $485,847
Mellon                                                                                                    Pacoima, CA 91331
Los Angeles County
                     $0                       2           $31,790     $31,790
Tax Collector

U.S. Bank            $272,111                 5           $302,036    $302,036                            7738 Ben Avenue, North Hollywood, CA 91605


U.S. Bank            $248,845                 7           $283,669    $283,669                            3768 Millbury Avenue, Baldwin Park, CA 91706


Wells Fargo Bank     $330,280                 3           $356,724    $356,724                            18343 Renault Street, La Puente, CA 91744


Wells Fargo Bank     $357,119                 6           $404,685    $404,685                            13038 Weidner Street, Pacoima, CA 91331

Wells Fargo Bank     $311,513                 11          $336,592    $336,592                            16920 Maclaren Street, La Puente, CA 91744
Wells Fargo Bank     $323,702                 8           $349,805    $349,805                            16442 Inyo Street, La Puenete, CA 91744
        Priority
FTB                  $0                       4           $11,068                             $0          Will be amended to reflect no balance
IRS                  $12,608                  1           $23,079                             $0          Will be amended to reflect no balance
      Unsecured
Caine & Weiner       $130                                                         $130
Caine & Weiner       $61                                                          $61
Chase                $36,798                                                      $36,798
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Chase                $12,050                                   $12,950
Dell Financial
                     $1,200                                    $1,200
Services
Discover Financial   $5,236                                    $5,236
The Feldman Law
                     $0                                        $0
Firm
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                                                  EnteredDesc
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                        Claim
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
4375 Jutland Drive/Suite 200/P.O. BOX 17933/San Diego, CA 92177

                                                                      Stipulation Re:Treatment of Creditor's Claim
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 Under Debtor's Proposed Chapter 11 Plan of Reorganization
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
09/22/2017          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
  United States Trustee, ustpregion16.wh.ecf@usdoj.gov
  United States Trustee (represented by): Katherine Bunker, kate.bunker@usdoj.gov
  Attorney for Debtor: M Jonathan Hayes, jhayes@srhlawfirm.com

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________,
              09/22/2017        I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
   Honorable Judge Maureen Tighe                                        DEBTOR
   Suite 324, Courtroom 302                                             Samuel James Esworthy
   21041 Burbank Boulevard                                              8526 Kester Avenue
   Woodland Hills, CA 91367                                             Panorama City, CA 91402
                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

09/22/2017                      Esteban Garcia                                                 /s/ Esteban Garcia
 Date                           Printed Name                                                    Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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        8/8/2016                      /s/ Kelly M. Raftery




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          1
                                         PROOF OF SERVICE OF DOCUMENT
          2
            I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
          3 business address is: 17609 Ventura Blvd., Suite 314, Encino, CA 91316.
          4 A true and correct copy of the foregoing document entitled DEBTOR’S THIRD
            AMENDED CHAPTER 11 PLAN OF REORGANIZATION be served or was served (a)
            on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
          5 manner   indicated below:
          6 I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING
          7 (“NEF”)    – Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) (“LBR”),
            the foregoing document will be served by the court via NEF and hyperlink to the document.
          8 On  10/5/2018 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
            and determined that the following person(s) are on the Electronic Mail Notice List to receive
          9 NEF transmission at the email address(es) indicated below:
         10          Service information continued on attached page.
                 •     Katherine Bunker kate.bunker@usdoj.gov
         11
                 •     Theron S Covey tcovey@rasflaw.com, CAECF@tblaw.com
                 •     Oscar Estrada oestrada@ttc.lacounty.gov
         12
                 •     Dane W Exnowski dane.exnowski@mcalla.com, bk.ca@mcalla.com
                 •     Todd S Garan ch11ecf@aldridgepite.com,
         13
                       TSG@ecf.inforuptcy.com;tgaran@aldridgepite.com
                 •     Michelle R Ghidotti ECFNotifications@ghidottilaw.com
         14
                 •     M. Jonathan Hayes jhayes@rhmfirm.com,
         15            roksana@rhmfirm.com;rosario@rhmfirm.com;janita@rhmfirm.com;susie
                       @rhmfirm.com;max@rhmfirm.com;priscilla@rhmfirm.com;pardis@rhmfi
         16            rm.com;russ@rhmfirm.com;rebeca@rhmfirm.com
                 •     John Rafferty john.rafferty@bonialpc.com
                 •     Kelly M Raftery bknotice@mccarthyholthus.com,
         17
                       kraftery@ecf.courtdrive.com
                 •     Cassandra J Richey cmartin@pralc.com
         18
                 •     Brett P Ryan ziggy.valerio@unifyfcu.com
                 •     John D Schlotter john.schlotter@mrpllc.com
         19
                 •     Najah J Shariff najah.shariff@usdoj.gov, USACAC.criminal@usdoj.gov
                 •     Diana Torres-Brito ecfcca@ecf.courtdrive.com;dtorres-brito@pralc.com
         20
                 •     Edward A Treder cdcaecf@bdfgroup.com
                 •     United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
         21
                 •     Jennifer C Wong bknotice@mccarthyholthus.com,
         22            jwong@ecf.courtdrive.com

         23 II. SERVED BY U.S. MAIL: On 10/5/2018 I served the following person(s) and/or
            entity(ies) at the last known address(es) in this bankruptcy case or adversary proceeding by
         24 placing a true and correct copy thereof in a sealed envelope in the United States Mail, first
            class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
         25 declaration that mailing to the judge will be completed no later than 24 hours after the
            document is filed.       Service information continued on attached page
         26
            Hon. Maureen A. Tighe                                Jim Esworthy
         27 U.S.  Bankruptcy    Court                            8526 Kester Ave.
            21041 Burbank Blvd., Suite 324                       Panorama City, CA 91402
         28 Woodland Hills, CA 91367

RESNIK HAYES
 MORADI LLP
                                                             24
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            III. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
          1 TRANSMISSION OR EMAIL (indicate method for each person or entity served): Pursuant
            to F.R.Civ.P. 5 and/or controlling LBR, on 10/5/2018 I served the following person(s) and/or
          2 entity(ies) by personal delivery, overnight mail service, or (for those who consented in writing
            to such service method), by facsimile transmission and/or email as follows. Listing the judge
          3 here constitutes a declaration that personal delivery on the judge will be completed no later
            than 24 hours after the document is filed.
          4
                 Service information continued on attached page
          5
            I declare under penalty of perjury under the laws of the United States of America that the
          6 foregoing is true and correct.
          7    10/5/2018                Ja’Nita Fisher                   /s/ Ja’Nita Fisher
               Date                      Type Name                       Signature
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RESNIK HAYES
 MORADI LLP
